AO 106 (Rev. 04/DAGBicBich Mra MOA4SA4aMJIN Doc #: 1 Filed: 08/08/19 Page: 1 of 5 PAGEID #: 1

UNITED STATES DISTRICT COURT

for the

Southern District of Ohio

In the Matter of the Search of - ae

(Briefly describe the property to be searched
or identify the person by name and address)

Case No.
Priority Mail Express parcel label number EJ047174208US, postmarked
August 7, 2019, weighing 0 pounds 2.5 ounces, addressed to Jordon O'Reilly,
9384 Winegar Rd, Redding, CA 96003 with a return address of
Yeary, 754 W Lake Ave, New Carlisle, OH 45344

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under

penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

Priority Mail Express Parcel Label Number EJ047174208US

located in the Southern _ District of — Ohio
person or describe the property to be seized):

Controlled Substances, materials and documents reflecting the distribution of controlled substances through
the U.S. Mails, including money and/or monetary instruments paid for controlled substances

, there is now concealed (identify the

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
[x] evidence of a crime;

[><] contraband, fruits of crime, or other items illegally possessed;
[_] property designed for use, intended for use, or used in committing a crime;
[_] a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of: Title 21

Code Section Offense Description
841 (a) (1), 843 (b) & 846 Possession with intent to distribute a controlled substance
Conspiracy to distribute a controlled substance
Use of a communication facility to commit a felony

The application is based on these facts:

See attached affidavit of U.S. Postal Inspector Dorman

[] Continued on the attached sheet.

[-] Delayed notice ___ days (give exact ending date if more than 30 days: ____) is requested

under 18 U.S.C. § 31 03a, the basis of which is set forth on the attaghed sheet.

    
   

pplicant’s signature

Brad M. Dorman, U=S, Postal Inspector
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Sworn to before me and signed in my presence.
Date: & ly) { A

: Honorable MichaeVA
tana ° “en one United States Magistrate Judge

Printed name and title
Case: 3:19-mj-00474-MJN Doc #: 1 Filed: 08/08/19 Page: 2 of 5 PAGEID #: 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
DAYTON, OHIO

STATE OF OHIO )
) $s
COUNTY OF MONTGOMERY )
AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
81, BRAD M. DORMAN, HAVING BEEN DULY SWORN, DEPOSE AND STATE: | am a United States

|| BRAD M. DORMAN, HAVING BEEN DULY SWORN, DEPOSE AND STATE: | am a United States
Postal Inspector and have been since August 2017. | am presently assigned to the Cincinnati Field Office
of the United States Postal Inspection Service, Pittsburgh Division, with investigative responsibility for
southeast Indiana and southern Ohio. Part of my responsibility involves investigating the use of the United
States Mail in the transportation of narcotics, other dangerous controlled substances, and financial
proceeds from, or instrumentalities used in, the sale of such narcotics and controlled substances

(hereinafter, “Drugs and/or Proceeds’).

Based on my training and experience as a United States Postal Inspector, | have become aware that drug
traffickers frequently use United States Priority Mail Express (overnight) or Priority Mail (2-3-day) to
transport Drugs and/or Proceeds. Additionally, as a result of prior investigations and successful
controlled-substance prosecutions involving the use of the United States Mail, | have learned of certain
characteristics and/or circumstances indicating that a package may contain Drugs and/or Proceeds.
These circumstances and/or characteristics include, but are not necessarily limited to, the following: the
mailer uses different post offices on the same day to send packages, the return address is false or non-
existent, the addressee is not known to receive mail at the listed delivery address, the package is heavily
taped, the package is mailed from a known drug source location, the labeling information contains
misspellings, the label contains an illegible waiver signature, unusual odors are emanating from the

package, and the listed address is located in an area of known or suspected drug activity.
Case: 3:19-mj-00474-MJN Doc #: 1 Filed: 08/08/19 Page: 3 of 5 PAGEID #: 3

On August 7, 2019, U.S. Postal Inspectors intercepted a package (hereinafter, the “Package”) at the
Dayton Processing and Distribution Plant (P&DC) in Dayton, OH. The Package is a white USPS Priority
Mail Express envelope, bearing tracking number EJ047174208US, weighing 0 pounds 2.5 ounces,

postmarked August 7, 2019, with the following address information:

Sender: Yeary
754 W Lake Ave
New Carlisle, OH 45344
Addressee: Jordon O'Reilly

9384 Winegar Rd
Redding, CA 96003

Through training and experience, | am aware that Northern California is a known drug source location.

| did a check in CLEAR of the addressee’s information on the Package of Jordon O'Reilly, 9384 Winegar
Rd, Redding, CA 96003. CLEAR is a law enforcement database that is used as a tool for investigators to
identify person/business and address information. According to CLEAR, there is a “Jordon O'Reilly”
associated with 9384 Winegar Rd, Redding, CA 96003. However, according to clear, “Jordon O'Reilly”

now has a current address of 614 W Madison St, New Carlisle, OH 45344 as of February 2019.

| also did a check in CLEAR of the sender's information on the Package of Yeary, 754 W Lake Ave, New
Carlisle, OH 45344. According to CLEAR, there are multiple individuals with the last name “Yeary"

associated with 754 W Lake Ave, New Carlisle, OH 45344.

Later on August 8, 2019, at my request, Detective Anthony Hutson of the Montgomery County Sheriff's
Office conducted a narcotics-detection canine check of the Package. | was present for the check. The
Package was placed in a controlled area and presented to narcotics-detection canine, “Gunner.” As set
forth in the attached affidavit of Detective Hutson, “Gunner” alerted positively to the presence or odor of a

narcotic or other controlled substance.
Case: 3:19-mj-00474-MJN Doc #: 1 Filed: 08/08/19 Page: 4 of 5 PAGEID #: 4

Based on my training and experience as a United States Postal Inspector, the Package’s address
information, the absence of any current association with a recipient and the recipient's address, the
Package being sent to a known drug source location, and the positive alert of the narcotics-detection

canine are indicative of Drugs and/or Proceeds in the Package.

Therefore, a search warrant to open the Package is requested.

Further, your affiant sayeth naught.

 

 

U.S. Postal Inspector
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day of , 2019.

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Case: 3:19-mj-00474-MJN Doc #: 1 Filed: 08/08/19 Page: 5 of 5 PAGEID #: 5

UNITED STATES POSTAL INSPECTION SERVICE

 

PITTSBURGH DIVISION

OFFICER AFFIDAVIT

|, Officer/Deputy Anthony Hutson, am and have been employed by the Montgomery

County Sheriff's Office since 1998. Among other duties, | am currently the assigned
handler of narcotics detection canine “Gunner* which is trained and certified in the
detection of the presence or odor of narcotics described as follows:

Marijuana, Cocaine, Methamphetamine, and Heroin

On 8: &- 1C¢_, at the request of Postal Inspector Dorman, | responded to the Dayton
P&DC, where “Gunner‘ did alert to and indicate upon: [describe item]

ETOYT 114-2088

 

 

 

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9284 Whycane Kr 54 w) Une Ave
“Kenning Ch F003, New (aeusce OW 4534Y

Which, based upon my training and experience and that of “Gunner", indicates there is

 

contained within or upon the above described item, the presence or odor of a narcotic or

other controlled substance.

Zax CV sy P3516

(Signature, Badge # id Date)

LUZ dn

(WitngSs/Date)

Cincinnati Field Office

895 Central Avenue STE 400
Cincinnati, OH 45202-5748
Telephone: 877-876-2455
FAX: 513-684-8009
